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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR211
                              )
          v.                  )
                              )
MARIO DELGADO-PAZ, a/k/a      )                      ORDER
Fernando Ramos-Quiles,        )
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue sentencing hearing (Filing No. 51).              The Court finds

defendant’s motion should be granted.          Accordingly,

          IT IS ORDERED that said motion is granted; sentencing

is rescheduled for:

                Thursday, November 16, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 16th day of October, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
